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 Fill in this information to identify your case:

 Debtor 1                  John J. Gorman, IV
                           First Name                       Middle Name                  Last Name

 Debtor 2
 (Spouse if, filing)       First Name                       Middle Name                  Last Name


 United States Bankruptcy Court for the:              WESTERN DISTRICT OF TEXAS, AUSTIN DIVISION

 Case number
 (if known)
                                                                                                                                            Check if this is an
                                                                                                                                               amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                 4/16
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

              Married
        Not married
2.     During the last 3 years, have you lived anywhere other than where you live now?

        No
              Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1 Prior Address:                                  Dates Debtor 1             Debtor 2 Prior Address:                               Dates Debtor 2
                                                                 lived there                                                                      lived there
        5404 Maryanna                                            From-To:                    Same as Debtor 1                                     Same as Debtor 1
        Austin, TX 78746                                         12/01/1999 to                                                                    From-To:
                                                                 01/01/2016
                                                                 (remains
                                                                 homestead)

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

        No
              Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

        No
              Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income               Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.           (before deductions
                                                                                    exclusions)                                                    and exclusions)




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 Debtor 1      John J. Gorman, IV                                                                          Case number (if known)



                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income            Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.        (before deductions
                                                                                    exclusions)                                                 and exclusions)

 From January 1 of current year until               Wages, commissions,                        $25,000.00          Wages, commissions,
 the date you filed for bankruptcy:                                                                                bonuses, tips
                                                   bonuses, tips
                                                    Operating a business                                           Operating a business

 For last calendar year:                            Wages, commissions,                        $93,782.00          Wages, commissions,
 (January 1 to December 31, 2015 )                                                                                 bonuses, tips
                                                   bonuses, tips
                                                    Operating a business                                           Operating a business

 For the calendar year before that:
 (January 1 to December 31, 2014 )
                                                    Wages, commissions,                        $50,000.00          Wages, commissions,
                                                   bonuses, tips                                                   bonuses, tips

                                                    Operating a business                                           Operating a business


5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
      and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
      winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

           No
       Yes. Fill in the details.
                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income from              Sources of income            Gross income
                                                   Describe below.                  each source                    Describe below.              (before deductions
                                                                                    (before deductions and                                      and exclusions)
                                                                                    exclusions)

 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
           No.     Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                    individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?
                         No.      Go to line 7.
                      Yes       List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the total amount you
                                 paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                 not include payments to an attorney for this bankruptcy case.
                     * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.
       Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                      No.         Go to line 7.
                      Yes         List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                   include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                   attorney for this bankruptcy case.


       Creditor's Name and Address                               Dates of payment            Total amount          Amount you       Was this payment for ...
                                                                                                     paid            still owe




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 Debtor 1      John J. Gorman, IV                                                                          Case number (if known)



7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
      of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
      a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
      alimony.

           No
       Yes. List all payments to an insider.
       Insider's Name and Address                                Dates of payment            Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe

8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

           No
       Yes. List all payments to an insider
       Insider's Name and Address                                Dates of payment            Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe      Include creditor's name

 Part 4:      Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
      modifications, and contract disputes.

       No
           Yes. Fill in the details.
       Case title                                                Nature of the case         Court or agency                         Status of the case
       Case number
       John J. Gorman IV v. Westech                              Civil Litigation           Third Court of Appeals                   Pending
       Capital Corporation                                                                  Price Daniel Sr. Building                  On appeal
       D-1-GN-14-001475                                                                     209 West 14th Street, Room
                                                                                                                                     Concluded
                                                                                            101
                                                                                            Austin, TX 78701

       Robert Halder v. Westech Capital                          Civil Litigation           Travis County District Court               Pending
       Corp. and John Gorman                                                                1000 Guadalupe Street                    On appeal
       D-1-GN-14-003190                                                                     Austin, TX 78701
                                                                                                                                     Concluded

       John J. Gorman, IV v. Salamone, et                        Civil Litigation           Delaware Court of                        Pending
       al.                                                                                  Chancery                                 On appeal
       C.A. No. 10183-VCN                                                                   500 North King Street                      Concluded
                                                                                            Wilmington, DE 19801
                                                                                                                                    Voluntarily dismissed
                                                                                                                                    without prejudice.

       Westech Capital Corp. v. John                             Civil Litigation           Travis County District Court               Pending
       Gorman, IV                                                                           1000 Guadelaupe Street                   On appeal
       D-1-GN-16-001103                                                                     Austin, TX 78701
                                                                                                                                     Concluded

                                                                                                                                    Filed, not served on Debtor.

       Lake Austin Lake Pointe                                   Civil Litigation           Travis County District Court             Pending
       Homeowners Association, Inc. v.                                                      1000 Guadalupe Street                    On appeal
       Gorman                                                                               Austin, TX 78701                           Concluded
       D-1-GN-15-003956




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 Debtor 1      John J. Gorman, IV                                                                          Case number (if known)



       Case title                                                Nature of the case         Court or agency                          Status of the case
       Case number
       Pallotta v. Gorman                                        Civil Litigation           Travis County District Court                Pending
       D-1-GN-15-002084                                                                     1000 Guadalupe Street                     On appeal
                                                                                            Austin, TX 78701
                                                                                                                                      Concluded

       Centennial Bank v. Gorman                                 Civil Litigation           Travis County District Court              Pending
       D-1-GN-15-000900                                                                     1000 Guadalupe Street                     On appeal
                                                                                            Austin, TX 78701                            Concluded


       Jetstar v. Sayers et al                                   Civil Litigation           Travis County District Court                Pending
       D-1-GN-14-004085                                                                     1000 Guadalupe Street                     On appeal
                                                                                            Austin, TX 78701
                                                                                                                                      Concluded

       Byram v. Gorman et al                                     Civil Litigation           Travis County District Court                Pending
       D-1-GN-14-003775                                                                     1000 Guadalupe Street                     On appeal
                                                                                            Austin, TX 78701
                                                                                                                                      Concluded

       Wells Fargo v. Byram et al                                Civil Litigation           Travis County District Court                Pending
       D-1-GN-13-003979                                                                     1000 Guadalupe Street                     On appeal
                                                                                            Austin, TX 78701
                                                                                                                                      Concluded

       Byram v. Gorman                                           Civil Litigation           Travis County District Court                Pending
       D-1-GN-12-002564                                                                     1000 Guadalupe Street                     On appeal
                                                                                            Austin, TX 78701
                                                                                                                                      Concluded

       In re the Marriage of I.T and G.J                         Divorce                    Travis County District Court                Pending
       D-1-FM-15-003175                                                                     1000 Guadalupe Street                     On appeal
                                                                                            Austin, TX 78701
                                                                                                                                      Concluded

       Brady J. Diehl Enterprises, Inc. v.                       Civil Construction         American Arbitration                      Pending
       John J. Gorman                                            Arbitration                Association                               On appeal
       01-14-0001-7342                                                                                                                  Concluded


       Gorman v. Tejas Securities Group,                         FINRA Arbitration          FINRA                                       Pending
       Inc. et al.                                                                                                                    On appeal
       14-00936
                                                                                                                                      Concluded

       Centennial Bank v. John Gorman                            Civil Lawsuit              District Court of Routt                   Pending
       14-CV-030149                                                                         County, Colorado                          On appeal
                                                                                                                                        Concluded



10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

       No. Go to line 11.
           Yes. Fill in the information below.
       Creditor Name and Address                                 Describe the Property                                        Date                        Value of the
                                                                                                                                                             property
                                                                 Explain what happened

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 Debtor 1      John J. Gorman, IV                                                                          Case number (if known)



       Creditor Name and Address                                 Describe the Property                                        Date                   Value of the
                                                                                                                                                        property
                                                                 Explain what happened
       Centennial Bank                                           2 Lots in Steamboat Springs, Colorado.                                           $2,000,000.00
       13700 E. Arapahoe Road
       Englewood, CO 80112                                        Property was repossessed.
                                                                  Property was foreclosed.
                                                                  Property was garnished.
                                                                  Property was attached, seized or levied.

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
           No
       Yes. Fill in the details.
       Creditor Name and Address                                 Describe the action the creditor took                        Date action was             Amount
                                                                                                                              taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

           No
       Yes
 Part 5:      List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
           No
       Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600                    Describe the gifts                                       Dates you gave                  Value
       per person                                                                                                             the gifts

       Person to Whom You Gave the Gift and
       Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
     No
           Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                Describe what you contributed                            Dates you                       Value
       more than $600                                                                                                         contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)
       Plastic Pollution Coalition                                   Money                                                    5/1/2016                 $2,500.00
       2150 Allston Way, Suite 460
       Berkeley, CA 94704


 Part 6:      List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

       No
           Yes. Fill in the details.
       Describe the property you lost and                   Describe any insurance coverage for the loss                      Date of your      Value of property
       how the loss occurred                                Include the amount that insurance has paid. List pending          loss                           lost
                                                            insurance claims on line 33 of Schedule A/B: Property.




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 Debtor 1      John J. Gorman, IV                                                                          Case number (if known)



       Describe the property you lost and                   Describe any insurance coverage for the loss                      Date of your       Value of property
       how the loss occurred                                Include the amount that insurance has paid. List pending          loss                            lost
                                                            insurance claims on line 33 of Schedule A/B: Property.
       Apple Laptop, 3 or 4 HP                                                                                                January 2016              Unknown
       printers, Macintosh amps, 2005
       UT Championship ring, watch,
       SMU Alumni file, Texas Memory
       Box, files of John J. Gorman, III,
       iPad, cell phone, 3 apple
       routers, panasonic and
       polycom equpment.


 Part 7:      List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

       No
           Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment              Amount of
       Address                                                       transferred                                              or transfer was            payment
       Email or website address                                                                                               made
       Person Who Made the Payment, if Not You
       Kell C. Mercer                                                $7,500.00 - Retainer                                     April 14, 2016          $82,500.00
       Kell C. Mercer, PC                                            $75,000.00 - Retainer                                    May 3, 2016
       1602 E. Cesar Chavez Street
       Austin, TX 78702
       www.mercer-law-pc.com


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

           No
       Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment              Amount of
       Address                                                       transferred                                              or transfer was            payment
                                                                                                                              made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
     No
           Yes. Fill in the details.
       Person Who Received Transfer                                  Description and value of                   Describe any property or        Date transfer was
       Address                                                       property transferred                       payments received or debts      made
                                                                                                                paid in exchange
       Person's relationship to you
       Howard Bristow & Donna Bristow                                1 Senic Drive, Unit 1205                   375,688.72 (gross)              12/14/2014
       111 Mazure Place                                              Highlands, NJ 07732                        300,327.73 (net)
       Hawthorne, NJ 07506

       none




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 Debtor 1      John J. Gorman, IV                                                                          Case number (if known)



       Person Who Received Transfer                                  Description and value of                   Describe any property or     Date transfer was
       Address                                                       property transferred                       payments received or debts   made
                                                                                                                paid in exchange
       Person's relationship to you
       Hundred Acre Wine Group, Inc.                                 Termination of Warrant                     $143,742                     5/6/2016
                                                                     Rights

       Debtor held warrants in Hundered Acre
       Wine Group, Inc.

       Various (See SOFA Schedule 18)                                Art (See SOFA Schedule 18)                 202,350.50                   Various
                                                                                                                                             between 3/2015
                                                                                                                                             and 12/2015
       none

       AHA III Properties, LLC                                       20 Acres, alvin Roswell                    Taxes & Liens (Bank of       5/1/2015
       327 FM 2004                                                   Survey, Abs. 396; JD Cady                  America) Paid
       Lake Jackson, TX 77566                                        Survey, Abs 139; Richard                   $2,911,864.14
                                                                     Hailey Survey, Abs. 224 &
       AHA III Properties, LLC owned by                              SHW Cocke Survvey, Abs.
       Friend, Current Landlord                                      127, Hays County, Texas..
                                                                     12707 FM 1826
                                                                     Dripping Springs, TX 78737

       Betty Evans Revocable Trust                                   13 Pond View Lane, East                    $300,000                     1/30/2015
                                                                     Hampton, New York

       none

       Aaron Payne                                                   Edward Corbett - Untitled #7               $12,500                      9/15/2015
       213 East Marcy Street
       Santa Fe, NM 87501

       none

       Hollis Taggart Galleries, Inc.                                Sam Francis                                $140,000                     12/22/2014
       958 Madison Avenue                                            Untitled
       New York, NY 10021                                            Acrylic on paper, 1992
                                                                     Signed
       none                                                          73 x 35 inches

       Hollis Taggart Gallaries, Inc.                                John Grillo                                $25,000.00                   12/23/2014
       958 Madison Avenue                                            Untitled
       New York, NY 10021                                            Oil on canvas, 1963
                                                                     Signed lower left
       none                                                          53 x 33 1/4 inches




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 Debtor 1      John J. Gorman, IV                                                                          Case number (if known)



       Person Who Received Transfer                                  Description and value of                   Describe any property or     Date transfer was
       Address                                                       property transferred                       payments received or debts   made
                                                                                                                paid in exchange
       Person's relationship to you
       AHA III Properties, LLC                                       151.12 acres, MF Key                       Taxes and payoff of          3/23/2015
       327 FM 2004                                                   Seruvey, Abs. 273; Seaborn                 liens to Capital Farm
       Lake Jackson, TX 77566                                        J. Whatley Survey, Abs. 18,                Credit, United States
                                                                     Hays County, Texas.                        Treasury, Arch H. Aplin,
       AHA III Properties, LLC owned by                               Easement of Passage                       III
       Friend, Current Landlord                                      recorded in Vol 3171, Pg.                  $3,566,123.08
                                                                     146, Hays County, Texas
                                                                     114.17 Acres, alvin Roswell
                                                                     Survey, Abs. 396; JD Cady
                                                                     Survey, Abs. 139; Richard
                                                                     Hailey Survey, Abs. 224 &
                                                                     SHW Coke Survey, Abs. 127,
                                                                     Hays County, Texas
                                                                     Easement appurtenant to
                                                                     Tract 3, described in Vol.
                                                                     960, Pg. 258, Hayes County,
                                                                     Texas
                                                                     10.72 Acres, JD Cady
                                                                     Survey, Abs. 139, Hays
                                                                     County, Texas
                                                                     Easement appurtenant to
                                                                     Tract 5

       Matthew Adams                                                 Ansel Adams Photos                         $100,000                     7/9/2014


       none

       Matthew Adams                                                 Ansel Adams Photos                         $50,000                      7/9/2014


       none

       Tia M. Sabin & Joseph L. Virkler                              32100 Preserve Drive North                 $295,000.00                  3/24/1015
                                                                     Steamboat Springs, CO
                                                                     80487
       none

       Steve Hamilton and Steve Siefert                              Holiday Motel partnership (6               $70,000                      10/1/2015
                                                                     shares)



19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
           No
       Yes. Fill in the details.
       Name of trust                                                 Description and value of the property transferred                       Date Transfer was
                                                                                                                                             made




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 Debtor 1      John J. Gorman, IV                                                                          Case number (if known)



 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
     No
           Yes. Fill in the details.
       Name of Financial Institution and                         Last 4 digits of          Type of account or           Date account was       Last balance
       Address (Number, Street, City, State and ZIP              account number            instrument                   closed, sold,      before closing or
       Code)                                                                                                            moved, or                   transfer
                                                                                                                        transferred
       Bank of America                                           XXXX-7591                  Checking                   February 2, 2016          $2,563.88
       PO Box 851001                                                                        Savings
       Dallas, TX 75285
                                                                                            Money Market
                                                                                            Brokerage
                                                                                            Other

       Frost Bank                                                XXXX-5040                  Checking                                                   $0.00
       PO Box 2901                                                                          Savings
       San Antonio, TX 78299-2901
                                                                                            Money Market
                                                                                            Brokerage
                                                                                            Other

       CapitalOne Bank NA                                        XXXX-1391                  Checking                   January 2016                    $0.00
       PO Box 71083                                                                         Savings
       Charlotte, NC 28272-1083
                                                                                            Money Market
                                                                                            Brokerage
                                                                                            Other

       PayPal Account                                            XXXX-                      Checking                   February 2016                   $0.00
                                                                                            Savings
                                                                                            Money Market
                                                                                            Brokerage
                                                                                            Other PayPal
                                                                                           Spending
                                                                                           Account


21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

       No
           Yes. Fill in the details.
       Name of Financial Institution                                 Who else had access to it?            Describe the contents            Do you still
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City,                                         have it?
                                                                     State and ZIP Code)

       Wells Fargo Bank, N.A.                                        Debtor only                           Empty                             No
       Austin, TX 78746                                                                                                                      Yes

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

       No
           Yes. Fill in the details.
       Name of Storage Facility                                      Who else has or had access            Describe the contents            Do you still
       Address (Number, Street, City, State and ZIP Code)            to it?                                                                 have it?
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)


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       Name of Storage Facility                                      Who else has or had access                 Describe the contents           Do you still
       Address (Number, Street, City, State and ZIP Code)            to it?                                                                     have it?
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

       Leased Property                                               John J. Gorman, IV                         Household items, furnishings,    No
       1000 Gorman Springs Road                                                                                 artwork, sporting equipment,     Yes
       Austin, TX 78737                                                                                         files from Schedule A/B


 Part 9:      Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

           No
       Yes. Fill in the details.
       Owner's Name                                                  Where is the property?                     Describe the property                       Value
       Address (Number, Street, City, State and ZIP Code)            (Number, Street, City, State and ZIP
                                                                     Code)


 Part 10:     Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

     Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
      regulations controlling the cleanup of these substances, wastes, or material.
     Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
      to own, operate, or utilize it, including disposal sites.
     Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
      hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

           No
       Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you    Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)


25. Have you notified any governmental unit of any release of hazardous material?

           No
       Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you    Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No
       Yes. Fill in the details.
       Case Title                                                    Court or agency                            Nature of the case              Status of the
       Case Number                                                   Name                                                                       case
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)


 Part 11:     Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
             A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
             A member of a limited liability company (LLC) or limited liability partnership (LLP)
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             A partner in a partnership
             An officer, director, or managing executive of a corporation
             An owner of at least 5% of the voting or equity securities of a corporation
       No. None of the above applies. Go to Part 12.
           Yes. Check all that apply above and fill in the details below for each business.
       Business Name                                             Describe the nature of the business             Employer Identification number
       Address                                                                                                   Do not include Social Security number or ITIN.
       (Number, Street, City, State and ZIP Code)                Name of accountant or bookkeeper
                                                                                                                 Dates business existed
       Westech Capital Corporation                               Financial Services                              EIN:         XX-XXXXXXX
       c/o Stephen Roberts
       Strasburger & Price, LLP                                                                                  From-To
       720 Brazos Street, Suite 700
       Austin, TX 78701-2974

       Tigco, LLC                                                Holding Company. Holds 1821,                    EIN:         32-051069824
       1000 Gorman Springs Road                                  LLC and Capital City Limo of
       Austin, TX 78737                                          Austin, LLC                                     From-To      - April 1, 2016

                                                                 Will Wenmohs
                                                                 The Wenmohs Group
                                                                 5000 Plaza on The Lake, Ste 130
                                                                 Austin, Texas 78746

                                                                 DMR Accounting
                                                                 5114 Balcones Woods Drive, Suite
                                                                 307-407
                                                                 Austin, Texas 78759

       N-Hays Investors I, LP                                    Real Estate                                     EIN:         XX-XXXXXXX
       901 S. Mopac, Building II, Suite 570
       Austin, TX 78746                                          Will Wenmohs                                    From-To      9/1/2005 to present.
                                                                 The Wenmohs Group
                                                                 5000 Plaza on The Lake, Ste 130
                                                                 Austin, Texas 78746

       R Bar C, LLC                                              Real Estate Services and                        EIN:         XX-XXXXXXX
       1000 Gorman Springs Road                                  Management
       Austin, TX 78737                                                                                          From-To      May 14, 2002
                                                                 Will Wenmohs
                                                                 The Wenmohs Group
                                                                 5000 Plaza on The Lake, Ste 130
                                                                 Austin, Texas 78746

       Tejas Securities Group Holding                            Holding Company                                 EIN:         XX-XXXXXXX
       Company
                                                                                                                 From-To      3/1994 to Present

       TSBGP, LLC                                                Real Estate                                     EIN:         XX-XXXXXXX
                                                                                                                 From-To      2/2005 to Present.

       Clearview Advisors, Inc.                                  Financial Consulting                            EIN:         XX-XXXXXXX
                                                                                                                 From-To




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       Business Name                                             Describe the nature of the business             Employer Identification number
       Address                                                                                                   Do not include Social Security number or ITIN.
       (Number, Street, City, State and ZIP Code)                Name of accountant or bookkeeper
                                                                                                                 Dates business existed
       RHG Consulting, LLC                                       Never did business                              EIN:         32-052231472
       100 Gorman Springs Road
       Austin, TX 78737                                          Will Wenmohs                                    From-To      October 15, 2013 to April 1, 2016
                                                                 The Wenmohs Group
                                                                 5000 Plaza on The Lake, Ste 130
                                                                 Austin, Texas 78746

       HIRT IM BDAT IM OBD, LLC                                  No operations                                   EIN:         32-052709493
       1000 Gorman Springs Road
       Austin, TX 78737                                          Will Wenmohs                                    From-To      December 17, 2013 to April 1,
                                                                 The Wenmohs Group                                            2016
                                                                 5000 Plaza on The Lake, Ste 130
                                                                 Austin, Texas 78746

       Tejas Securities Group                                    Brokerage Services                              EIN:         XX-XXXXXXX
       8226 Bee Caves Road
       Austin, TX 78746                                                                                          From-To      3/1994 to Present

       TI Building Partnership, LTD                              Real Estate                                     EIN:         XX-XXXXXXX
       8662 Bee Caves Road
       Austin, TX 78746                                                                                          From-To      2/2005 to Present

       1821 LLC                                                  Real Estate                                     EIN:         32-051069816
       100 Gorman Springs Road
       Austin, TX 78737                                          Will Wenmohs                                    From-To      May 23, 2013 to April 1, 2016
                                                                 The Wenmohs Group
                                                                 5000 Plaza on The Lake, Ste 130
                                                                 Austin, Texas 78746

       Capital City Limo of Austin, LLC                          Limo business                                   EIN:         XX-XXXXXXX
       100 Gorman Springs Road
       Austin, TX 78737                                          Will Wenmohs                                    From-To      May 23, 2013 to present.
                                                                 The Wenmohs Group
                                                                 5000 Plaza on The Lake, Ste 130
                                                                 Austin, Texas 78746

       FBO, LLC                                                  Never did business                              EIN:         32-053270925
       100 Gorman Springs Road
       Austin, TX 78737                                                                                          From-To


       TEJS, LLC                                                 Never did business                              EIN:         32-053270933
       100 Gorman Springs Road
       Austin, TX 78737                                                                                          From-To      February 21, 2014 to present

       Atlantic Restoration, LLC                                 Never did business                              EIN:         32-053718253
       1000 Gorman Springs Road
       Austin, TX 78737                                                                                          From-To      April 8, 2014 - January 29, 2016

       N-Hays Investors II, LP                                   Real Estate                                     EIN:         XX-XXXXXXX
       901 S. Mopac, Building II, Suite 570
       Austin, TX 78746-6000                                     Will Wenmohs                                    From-To      9/1/2005 to present.
                                                                 The Wenmohs Group
                                                                 5000 Plaza on The Lake, Ste 130
                                                                 Austin, Texas 78746




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28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

       No
            Yes. Fill in the details below.
        Name                                                     Date Issued
        Address
        (Number, Street, City, State and ZIP Code)

        Regions Bank                                             10/27/2014


        Will Wenmohs                                             Various (accountant)
        The Wenmohs Group
        5000 Plaza on The Lake, Ste 130
        Austin, TX 78746

 Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 /s/ John J. Gorman, IV
 John J. Gorman, IV                                                      Signature of Debtor 2
 Signature of Debtor 1

 Date      June 27, 2016                                                 Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
 No
 Yes
Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
 No
 Yes. Name of Person                   . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




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